                                                                                                                                sywester Tumer
                                         CITY         OF      HOUSTON
                                                                              Public Works
                                                                                                                                Mayor
                                                              Houston
                                                                                                                                Carol Ellinger Haddock,   P.E.
                                                                                                                                Director
                                                                                                                                P.O. Box 1562
                                                                                                                                Houston, Texas 77251-1562

                                                                                                                                832-395-2500
                                                                                                                                www.publicworks.houstontx.qov




          August      3,   2018

          Dr. Juan Jose Sanchez, CEO
          Southwest Key Programs
          6002 Jain Lane
          Austin, TX 78721

          RE:       Southwest          Key Programs   Properties

          Dear Mr. Juan           J.   Sanchez,

          This letter is In response to recent reports indicating that Southwest Key Intends to open the facility located at 419
          Emancipation next week for housing unaccompanied             minors aged 3-17 separated from thelr parents and/or
          guardians while allegedly attempting to cross the US border without following proper procedure.

         As   prevlously communlcated      to your Reglonal  E×ecutive Dlrector, Ms. Adrlana Gutierrez and to your permit
         expeditor, Mrs. Lisa Brown, the Certlficate of Occupancy for 419 Emancipation is Invalld. In your Occupancy
         Inspection Application, you provided information that suggested the facility would satisfy the requirements of a
         Group "R" Occupancy. However, your subsequent letter dated June 27, 2018 clearly states that the occupants of
         the proposed facility will be unaccompanied     minors aged 3-17. In light of this information, the correct occupancy
         designation for your facility would constitute a Group "I" Institutional occupancy and not a Group "R" occupancy as
         originally presented. Because the occupancy group approved on the original Certificate of Occupancy does not
         match the new Intended use of the structure, the Certificate of Occupancy is Invalld. To obtain a valid Certificate
         of Occupancy for the recently proposed use, please submit two complete              sets of plans reflecting the correct
         occupancy classification and documenting       code compliance     with the appropriate  code provisions of the current
         Houston Construction Code for the proposed change in useloccupancy to the Houston Permitting Center for plan
         review.


         As you     are likely aware, §104.6 of the Houston Amended International Bullding Code authorizes the Bullding
         Official or his representative to enter a property for the purposes of inspection in Instances where the Building
         Official has reasonable cause to believe that there exists in a structure or upon a premise a condition which Is
         contrary to or In violation of the code. In an effort to ensure that other facilities permitted by your company have
         not been occupied under similarly Incorrect permits, on August 2, 2018 Inspectors were sent to three of your
         facilities located in Houston. Those facilities are as follows:



                •     7900 Mesa Dr., Houston, TX 77028
                •     7407 North Freeway, Houston, TX 77076
                •     1550 La Concha Ln., Houston, TX 77054



         We were unable to complete the necessary inspections as the Inspectors were denied access to anything but the
         lobby areas and offices. Please take note that §104.6 of the Houston Amended International Building Code gives
         the Bullding Official or his representatives the authority to enter a structure or premises at reasonable times to
         Inspect or perform the duties imposed upon him by the code.
         §104.6 further states that:

                                                                           EXHIBIT 4
Council Members:  Brenda Stardig   Jerry Davis     Ellen R. Cohen         Dwight Á. Boykins  Dave Ñlartin Steve Le  Greg Travls  , Kada Cisneros    Robert Gallegos
           Mike Laster Martha Castex-Tatum     Mike Knox     David   W.   Robinsol) Michael Kubosh Amanda K. Edwards Jack Christie, D.C.      Controller Chris B. Brown
        Dr. Juan Jose Sanchez       .                                                                                                           August    3,       2018
        Re: Southwest Key Programs Properties                                                                                                        Page      2    of2



                       "If   entry   is      refused, the building official shall have recourse to the remedies provided by law to secure
                       entry.    [...] [N]o owner        or occupant or any other person having charge, care or control of any building or
                       premises           shall fall or neglect, after proper request is made as herein provided, to promptly permit entry
                       therein by          the buildlng officla|for the purpose of inspection and examination pursuant to this code."


        It    Imperative that you provide our respective offices wlth a time within the next twenty-four (24) hours that each
             is

        of the facilities will be available for inspection. Please contact our offices as soon as possible at the numbers
        IIsted below for further information.



        Thank you for your prompt attention                  to this     matter,




          ark havas pt rC'FM, CBO, MCP                                                      Samuel Peña
        Houston Btfilding Official                                                          Fire Chief
        Houston Permitting Center                                                           Houston Fire Department
        (832) 394-9555                                                                      (832) 394-6702




Council Members:        Brenda Stardig   Jerry Davis     EIIenR. Cohen        DwightA. Boykins  Dave Martin Steve Le   Greg Travis    karla Cisneros    Robert Gallegos
              Mike   t.aster Martha Castex-Tatum     Mike Knox David     W.   Robinson Michael Kubosh Amanda K. Edwards Jack Christie, D.C.       Controller Ç¾rls B. Brown
